         Case 1:20-cv-09153-PGG-JW Document 75 Filed 12/27/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                     :
AKHMED GADZHIEVICH BILALOV,                                          :
                                                                     :       1:20-cv-09153-GHW-KNF
                                              Plaintiff,             :
                                                                     :
                           -against-                                 :   NOTICE AND [PROPOSED] ORDER
                                                                     :   FOR WITHDRAWAL OF COUNSEL
HERMAN GREF, et al.,                                                 :
                                                                     :
                                              Defendants.            :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x



          PLEASE TAKE NOTICE that, upon the annexed declaration, and subject to the approval

of the Court, John S. Kiernan hereby withdraws as counsel for Defendants Sberbank of Russia

and Mr. Herman Gref and shall be removed from the Case Management/Electronic Case Files

(CM/ECF) notification list in the above-captioned matter. Mark P. Goodman and William H.

Taft V of Debevoise & Plimpton LLP will continue to represent Sberbank of Russia and Mr.

Gref in this proceeding.


Dated: New York, New York
       December 27, 2021


                                                            DEBEVOISE & PLIMPTON LLP
                                                            By: /s/ John S. Kiernan         .
                                                               John S. Kiernan
                                                               jskiernan@debevoise.com

                                                                 919 Third Avenue
                                                                 New York, New York 10022
                                                                 (212) 909-6000


SO ORDERED:

_________________________________
         Case 1:20-cv-09153-PGG-JW Document 75 Filed 12/27/21 Page 2 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                     :
AKHMED GADZHIEVICH BILALOV,                                          :
                                                                     :      1:20-cv-09153-GHW-KNF
                                              Plaintiff,             :
                                                                     :
                           -against-                                 :
                                                                     :
HERMAN GREF, et al.,                                                 :
                                                                     :
                                              Defendants.            :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                                   DECLARATION OF JOHN S. KIERNAN
I, John S. Kiernan, declare and state as follows:
     1. I am a member of Debevoise & Plimpton LLP (“Debevoise”), an international law firm

          with its principal offices at 919 Third Avenue, New York, New York 10022, counsel for

          Defendants Sberbank of Russia and Mr. Herman Gref.

     2. Mark P. Goodman and William H. Taft V of Debevoise will continue to represent

          Sberbank of Russia and Mr. Gref in this proceeding.

     3. I submit this declaration in compliance with Local Rule 1.4 to notify the Court that I am

          withdrawing as counsel because I am retiring from active legal practice.

     4. Motions to dismiss are pending, and my withdrawal will not delay the matter or prejudice

          any party.

     5. I am not retaining a charging lien.

I declare under penalty of perjury that the foregoing is true and correct.
Dated: New York, New York
       December 27, 2021

                                                            By: /s/ John S. Kiernan         .
                                                               John S. Kiernan
       Case 1:20-cv-09153-PGG-JW Document 75 Filed 12/27/21 Page 3 of 3




                               CERTIFICATE OF SERVICE



              I hereby certify that, on December 27, 2021, I caused a true and correct copy of

the foregoing to be served upon all parties to this litigation via the CM/ECF system, and on

December 27, 2021 caused a true and correct copy of the foregoing to be served (with consent of

the recipient) by email upon the Deputy Director, Legal Department, Sberbank of Russia.


December 27, 2021
New York, New York
                                           /s/ John S. Kiernan
                                           John S. Kiernan
